             Case 2:24-cv-00444-BJR Document 44 Filed 07/22/24 Page 1 of 3




 1                                                                The Honorable Barbara J. Rothstein

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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
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10   RICARDO SALOM, CATHERINE                               Case No. 2:24-cv-00444-BJR
     PALAZZO as assignee for Ruben Palazzo, and
11   PETER HACKINEN, on their own behalf and
     on behalf of other similarly situated persons,
12                                                          ORDER GRANTING MOTION FOR
13                       Plaintiffs,                        LEAVE TO FILE OVERLENGTH
                                                            BRIEF
14          vs.

15   NATIONSTAR MORTGAGE LLC, et al.,
16                        Defendants.
17

18          THIS MATTER has come before the Court upon Plaintiffs RICHARDO SALOM,

19   CATHERINE PALAZZO, on their own behalf and on behalf of other similarly situated
20
     persons (“Plaintiffs”), requesting that the Court grant their Motion for Leave to File
21
     Overlength Brief to file Plaintiffs’ Motion for Class Certification to Nationstar (“Motion”)
22
     pursuant to LCR 7(f) and the Court’s Standing Order (ECF. 16). Now that the Court has
23
     reviewed the pleadings and supporting documents, IT IS HEREBY ORDERED,
24

25   ADJUDGED and DECREED that:

26


     ORDER- 1                                                    SEATTLE CONSUMER JUSTICE P.S.
                                                                          10728 16th Avenue SW
                                                                           Seattle, WA 98146
                                                                              206.330.0595
            Case 2:24-cv-00444-BJR Document 44 Filed 07/22/24 Page 2 of 3




 1         1. The Plaintiffs’ Motion is GRANTED, and Plaintiffs shall promptly file their Motion

 2              for Class Certification and Statement of Material Facts in Support of Class
 3
                Certification presented in their motion along with their Continued Appendix of
 4
                Exhibits.
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           2. Defendants may file a commensurate response.
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 8         DATED this 22nd day of July, 2024.

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                                                     A
                                                     Honorable Barbara J. Rothstein
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13   Presented by:
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     ORDER- 2                                                SEATTLE CONSUMER JUSTICE P.S.
                                                                     10728 16th Avenue SW
                                                                      Seattle, WA 98146
                                                                         206.330.0595
            Case 2:24-cv-00444-BJR Document 44 Filed 07/22/24 Page 3 of 3




 1    SEATTLE CONSUMER JUSTICE, P.S.
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      Christina L. Henry (WSBA No. 31273)
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      Seattle, WA 98146
 4    Telephone: 206.330.0595
      Email: chenry@hdm-legal.com
 5

 6    CONSUMER LAW CENTER, LLC

 7    By: /s/ Phillip R. Robinson
      Phillip R. Robinson (Admitted Pro Hac
 8    Vice)
      1220 Blair Mill Road, Suite 1105
 9    Silver Spring, MD 20901
10    Telephone: 301.448.1304
      Email: phillip@marylandconsumer.com
11
      ATTORNEYS FOR PLAINTIFFS
12    RICHARDO SALOM, CATHERINE
      PALAZZO AS ASSIGNEE FOR RUBEN
13    PALAZZO, AND PETER HACKINEN,
14    ON THEIR OWN BEHALF AND ON
      BEHALF OF OTHER SIMILARLY
15    SITUATED PERSONS

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     ORDER- 3                                      SEATTLE CONSUMER JUSTICE P.S.
                                                          10728 16th Avenue SW
                                                           Seattle, WA 98146
                                                              206.330.0595
